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                                                                                                                                                                                                          UNITED STATES DISTRICT COURT
                                                                                                                                                                                                          MIDDLE DISTRICT OF LOUISIANA



RAMON TORRES,
                                                                                                                                                                                                                                                 CIVIL ACTION NO.:
                                                                                                                                                                                                                                   Plaintiff,
                                                                                                                                                                                                                                                 JUDGE:
v.

BOBBY WEBRE, Sheriff of Ascension Parish;
                                            MAGISTRATE JUDGE:
PAUL HALL, Warden of the Ascension Parish
Jail; DAVID DYKES, former Warden of the
Ascension Parish Jail; TMICHEL DOE, staff
member at Ascension Parish Jail; CHIEF DOE,
staff member at Ascension Parish Jail; and
JOHN DOES 1-9, booking and release staff at
the Ascension Parish Jail.

                  Defendants.


                                 COMPLAINT
______________________________________________________________________________

                                                                                                                                                                                                                                          INTRODUCTION

                                                                                                                                                                                                                                                 1.

                                                      One of the most cherished principles of our nation is that no person can be held in jail

                           unless the government has the legal authority to detain him.

                                                                                                                                                                                                                                                 2.

                                                      Ramon Torres is a U.S. citizen and a Baton Rouge resident. He has a family, owns a

                           home, and has worked in local Baton Rouge industry for years. Despite these longstanding

                           community ties, Ramon Torres was detained in jail for more than three days simply because

                           he has brown skin and a Latinx1 last name.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  “Latinx”	  is	  a	  gender-­‐neutral	  term	  sometimes	  used	  in	  lieu	  of	  Latino	  or	  Latina.	  	  




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                                                     3.

          Because his detention violates the United States Constitution, he brings the immediate

       action.

                                    JURISDICTION AND VENUE

                                                     4.

          Mr. Torres brings his claims pursuant to 42 U.S.C. § 1983 because Defendants violated

       his rights secured by the Fourth and Fourteenth Amendments to the United States

       Constitution.

                                                     5.

          This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §1331

       because it presents a federal question. The Court has supplemental jurisdiction over Mr.

       Torres’ state-law claim pursuant to 28 U.S.C. § 1367.

                                                     6.

          Venue is proper in this district in accordance with 28 U.S.C. §1391(b)(1) because the

       Defendants reside in this district, and 28 U.S.C. §1391(b)(2) because the wrongful conduct at

       issue in this matter occurred wholly within this District.

                                                     7.

          Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2201. A declaration of law is

       necessary to determine the respective rights and duties of the parties.

                                                PARTIES

                                                     8.

          Plaintiff Ramon Torres is a person of majority domiciled in the State of Louisiana, within

       the Middle District of Louisiana.




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                                                     9.

          Defendant Bobby Webre is Sheriff of Ascension Parish. He is responsible as a final

       policymaker for establishing and enforcing the policies, procedures and practices at the

       Ascension Parish Sheriff’s Office (“APSO”), including specifically booking procedures and

       immigration holds. He also is responsible as a final policymaker for training and supervising

       the staff at the Ascension Parish Sheriff’s Office on the proper use of holds and detainers, the

       constitutional rights of arrestees and suspects, and the obligation not to engage in racial

       profiling. He knew or should have known that the Ascension Parish Sheriff’s Office was

       holding individuals without legal authority and acted with reckless disregard to the violation

       of rights caused thereby. The Sheriff is an individual of the full age of majority domiciled in

       the State of Louisiana, within the Middle District of Louisiana. The Sheriff is sued in his

       individual and official capacities.

                                                     10.

          Warden Paul Hall is the current Warden at Ascension Parish Jail. He is responsible as a

       final policymaker for establishing and enforcing the policies, procedures, and practices at the

       Ascension Parish Sheriff’s Office (“APSO”), including specifically booking procedures and

       immigration holds. He also is responsible as a final policymaker for training and supervising

       the staff at the Ascension Parish Sheriff’s Office on the proper use of holds and detainers, the

       constitutional rights of arrestees and suspects, and the obligation not to engage in racial

       profiling. He knew or should have known that the Ascension Parish Sheriff’s Office was

       holding individuals without legal authority, and he acted with reckless disregard to the

       violation of rights caused thereby. Warden Hall is an individual of the full age of majority




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       domiciled in the State of Louisiana. Warden Hall is sued in his individual and official

       capacities.

                                                 11.

       Warden David Dykes is the former warden of Ascension Parish jail. He was Warden of the

jail at the time of Mr. Torres’ arrest and unlawful detention. He was responsible as a final

policymaker for establishing and enforcing the policies, procedures, and practices at the

Ascension Parish Sheriff’s Office (“APSO”), including specifically booking procedures and

immigration holds. He also was responsible as a final policymaker for training and supervising

the staff at the Ascension Parish Sheriff’s Office on the proper use of holds and detainers, the

constitutional rights of arrestees and suspects, and the obligation not to engage in racial profiling.

He knew or should have known that the Ascension Parish Sheriff’s Office was holding

individuals without legal authority, and he acted with reckless disregard to the violation of rights

caused thereby. Warden Dykes is an individual of the full age of majority domiciled in the State

of Louisiana. He is sued in his official and individual capacities.

                                                 12.

          Deputy “tmichel Doe” is an employee of the Ascension Parish Sheriff’s Office. Deputy

“tmichel Doe” had direct knowledge that Mr. Torres was a citizen of the United States, that there

was no lawful cause to detain Mr. Torres, and he continued to detain Mr. Torres anyway. He is

sued in his individual capacity.

                                                 13.

          “Chief Doe” is an employee of the Ascension Parish Sheriff’s Office in the staff position

of “Chief.” Chief Doe had direct knowledge that Mr. Torres was a citizen of the United States,




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that there was no lawful cause to detain Mr. Torres, and he continued to detain Mr. Torres

anyway. He is sued in his individual capacity.

                                                 14.

       John Doe 1 is the male individual who booked Mr. Torres into the Ascension Parish Jail

on Friday, August 31, 2018. He was aware of Mr. Torres’ U.S. citizenship as evidenced by Mr.

Torres’ possession of documents known only to be possessed by U.S. citizens.

                                                 15.

       John Doe 2 is/are the individual(s) who were supervising booking and releases at the

Ascension Parish Jail on the morning and evening of Saturday, September 1, 2018, and who did

not release Mr. Torres subsequent to the criminal court ordering Mr. Torres’ release on his own

recognizance on the charges of driving under the influence.

                                                 16.

       John Doe 3 is the individual who placed a “hold” on Mr. Torres at 1:53 am on Sunday,

September 2, 2018.

                                                 17.

       John Does 4-9 are the individuals supervising booking and releases at the Ascension

Parish Jail on the mornings and evenings of Sunday, September 2, through Tuesday, September

4, 2018, who possessed information demonstrating and knowledge of Mr. Torres’ citizenship but

who continued to detain him unlawfully.

                                      Factual Background

                                                 18.

       Plaintiff Ramon Torres was born in the Republic of Honduras in 1988. When he was a

small child his family immigrated to the United States of America.




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                                                19.

       On February 25, 2009, Mr. Torres became a naturalized citizen of the United States of

America. In connection therewith, Mr. Torres has a Social Security number and a passport issued

by the United States Department of State.

                                                20.

       On August 31, 2018, Mr. Torres was arrested by Louisiana State Police officer Jarrod

Miles on suspicion of first offense driving while intoxicated.

                                                21.

       Officer Miles transported Mr. Torres to the Louisiana State Police Troop A facility at

17801 Highland Road, in Baton Rouge, Louisiana for a chemical breath analysis, which Mr.

Torres refused. Thereafter, Officer Miles transferred Mr. Torres to the Ascension Parish Jail for

booking.

                                                22.

       At the time of his arrest, Mr. Torres was in possession of a Security Passport issued by

the Alliance Safety Council. Security Passports require proof of a valid U.S. social security

number.

                                                23.

       At the time of his arrest, Mr. Torres was in possession of a valid driver’s license issued

by the State of Louisiana. Louisiana law prohibits the Louisiana Department of Public Safety,

Office of Motor Vehicles from issuing a driver’s license to any individual without that person

providing valid proof of citizenship.




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                                               24.

       On the morning of September 1, 2018, the Louisiana 23rd Judicial District Court ordered

Mr. Torres released on his own recognizance on the driving while intoxicated charge, consistent

with the Court’s commitment to providing release on recognizance to all non-violent arrestees.

                                               25.

       Despite the court’s order to release Mr. Torres on all criminal charges, the Defendants

refused to release Mr. Torres.

                                               26.

       Cameron Moore, a co-worker of Mr. Torres, called the Ascension Parish Sheriff’s Office

multiple times on Saturday, September 1, 2018, to inquire about the release of Mr. Torres.

                                               27.

       Mr. Moore spoke to an officer, Tmichel Doe, who advised him that Mr. Torres was being

held because he was in the United States illegally. Mr. Moore advised the officer that Mr. Torres

is a United States citizen. The officer advised Mr. Moore to send documentation of Mr. Torres’

citizenship to the email address of tmichel@ascensionsheriff.com. Mr. Moore sent an email to

Tmichel Doe at the Ascension Parish Sheriff’s Office informing its officers that Mr. Torres is a

citizen of the United States of America. Attached to the email were copies of Mr. Torres’ (1)

Certificate of Naturalization issued by the United States Citizen and Immigration Services; (2)

social security card; (3) birth certificate issued by the Republic of Honduras; and (4) Passport

issued by the United States Department of State. Mr. Moore sent that email at 3:18 p.m. on

Saturday, September 1, 2018.

                                               28.




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           Thus, by Saturday, September 1, 2018, at 3:18 p.m., the Defendants had in their

possession copies of the following documents showing Mr. Torres’ lawful presence in the United

States:

       •   A Louisiana issued driver’s license, issued to an address for a home that Mr. Torres

           owns;

       •   A Certificate of Naturalization;

       •   A social security card; and

       •   A passport issued by the United States Department of State.

           Defendants also had in their possession Mr. Torres’ lawfully registered vehicle. In that

vehicle were various cards and other forms of identification demonstrating Mr. Torres’ security

clearance at Exxon, Monsanto, Shintech and Dow Chemicals, and a Transportation Worker

Identification Credential (“TWIC” card). TWIC cards are issued by the Transportation Security

Administration (“TSA”) of the United States of America and require an extensive TSA security

threat assessment background check. TWIC cards are issued only to eligible U.S. citizens and

non-U.S. citizens in certain lawful immigration categories. Defendants had possession of these

materials through an inventory search of the vehicle incident to arrest.

                                                  29.

           Defendants had no reasonable suspicion or probable cause to believe that Mr. Torres was

a noncitizen subject to removal from the United States. Any basis that Defendants had to suspect

that Mr. Torres was a removable noncitizen was rebutted by the facts known to them and

available to them that Mr. Torres is a U.S. citizen.




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                                                  30.

        After several phone calls, Mr. Moore was placed on the phone with an APSO supervisor

who identified himself only as “Chief” (hereinafter “Chief Doe.”) Chief Doe stated that it is the

policy of the Ascension Parish Sheriff’s Office to call U.S. Immigrations and Customs

Enforcement (“ICE”) when APSO officers suspect someone is undocumented, and the APSO

then waits to release that individual once he or she has been “cleared” by ICE.

                                                  31.

        On information and belief, the Defendants jailed Mr. Torres pursuant to APSO’s own

unilateral immigration enforcement prior to any communication with ICE. On information and

belief, ICE never requested that the jail hold Mr. Torres.

                                                  32.

        Despite having in their possession those documents identified in Paragraph 28 of this

Complaint on the afternoon of Saturday September 1, 2018, the Defendants formally changed

Mr. Torres’ status to “Hold: out of state fugitive” on Sunday September 2, 2018 at 1:53 AM in

their electronic record-keeping system or database.

                                                  33.

        As a result of this “hold,” Mr. Torres was detained in the Ascension Parish Jail until

Tuesday, September 4, 2018. Mr. Torres inquired with an unidentified administrative employee

of the Ascension Parish Sheriff’s Office (“Administrator Jane Doe”) why he was held so long.

Administrator Jane Doe responded to Mr. Torres that APSO contacts ICE pertaining to all Latinx

arrestees, resulting in “holds” that delay their release.




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                                                34.

        Defendants maintain a policy of placing “fugitive” or “other jurisdiction” holds on all

Latinx or Hispanic detainees without regard to the individual’s actual citizenship status. In Mr.

Torres’ case, this policy resulted in four days of additional detention, causing loss of his

fundamental rights and liberty as a result of Defendants’ actions.

                                                35.

        The APSO does not have an agreement with any federal agency to act as immigration

enforcement agents.

                                                36.

        Mr. Torres’ detention was due to Defendants’ policy, practice, or custom of detaining

Latinx-appearing individuals on holds, without probable cause that those individuals are actually

in violation of any federal immigration law. Defendants further failed to train and supervise staff

on holds, lawful seizures, and probable-cause requirements of the Constitution.

                                                37.

        These actions were motivated by an evil motive or intent, and/or involved reckless or

callous indifference to Mr. Torres’ clearly established rights, entitling him to punitive damages

against Defendants in their individual capacities.

                                  FIRST CAUSE OF ACTION:
                                 THE FOURTH AMENDMENT
                                            38.

        Mr. Torres incorporates herein the preceding paragraphs as if stated herein for this claim

for relief.




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                                               39.

        The Fourth Amendment to the United States Constitution prohibits “unreasonable

searches and seizures,” which, at a minimum, requires arresting officers to have probable cause

to hold a person.

                                               40.

        Defendants, acting under color of state law, unlawfully seized Mr. Torres’ person without

probable cause, in violation of the Fourth Amendment.

                                               41.

        The Defendants did not and could not articulate probable cause that Mr. Torres was in

violation of any federal immigration law. Even if they could, they are not authorized to

unilaterally enforce federal immigration laws. Thus, the seizure of his person violated his Fourth

Amendment rights.

                          CAUSE OF ACTION NUMBER 2:
                FOURTEETH AMENDMENT SUBSTANTIVE DUE PROCESS

                                               42.

        Mr. Torres incorporates herein the preceding paragraphs as if stated herein for this claim

for relief.

                                               43.

        The Fourteenth Amendment of the United States Constitution provides in relevant part

that no State “shall deprive any person of life, liberty, or property, without due process of

law….”

                                               44.

        The Defendants deprived Mr. Torres of his liberty by unlawfully detaining him, after the

Court ordered his release, without any legal justification. This detention was an unlawful



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restriction of his liberty, in violation of his Fourteenth Amendment substantive due process

rights.

                           CAUSE OF ACTION NUMBER 3:
                 FOURTEENTH AMENDMENT PROCEDURAL DUE PROCESS

                                                 45.

          Mr. Torres incorporates herein the preceding paragraphs as if stated herein for this claim

for relief.

                                                 46.

          The Fourteenth Amendment of the United States Constitution provides in relevant part

that no State “shall deprive any person of life, liberty, or property, without due process of

law….”

                                                 47.

          The Defendants deprived Mr. Torres of his liberty by unlawfully detaining him after a

court ordered his release, without any legal justification. This detention was an unlawful

restriction of his liberty without process of law, in violation of his Fourteenth Amendment

procedural due process rights.

                          CAUSE OF ACTION NUMBER 4:
              FOURTEENTH AMENDMENT EQUAL PROTECTION OF THE LAWS

                                                 48.
          Mr. Torres incorporates herein the preceding paragraphs as if stated herein for this claim

for relief.

                                                 49.

          The Fourteenth Amendment of the United States Constitution provides in relevant part

that no State “shall deny to any person within its jurisdiction the equal protection of the laws.”




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                                                   50.

           As a Latino man, Mr. Torres is a member of a protected class. The Defendants detained

Mr. Torres solely because of his last name and perceived race, color, ethnicity, or national origin.

                                                   51.

           By detaining Mr. Torres based upon his perceived race, color, ethnicity, or national

origin, Defendants intentionally and unlawfully discriminated against him on account of his

perceived race, color, ethnicity, or national origin in violation of his clearly established right to

equal protection of the laws.

                                                   52.

           As a result of this discrimination Mr. Torres suffered loss of his fundamental rights and

liberty.

                               CAUSE OF ACTION NUMBER 5:
                       FALSE IMPRISONMENT UNDER LOUISIANA LAW

                                                   53.

           Mr. Torres incorporates herein the preceding paragraphs as if stated herein for this claim

for relief.

                                                   54.

           Mr. Torres was confined to the Ascension Parish Jail from September 1, 2018 through

September 4, 2018 without lawful justification.

                                                   55.

           The Defendants lacked probable cause to detain Mr. Torres after his release was ordered.

                                                   56.

           The only reason the Defendants continued to detain Mr. Torres from September 1, 2018

through September 4, 2018, was their unfounded suspicion that Mr. Torres was unlawfully



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present within the United States. Such suspicion was based solely on discriminatory motives, and

not upon any articulable knowledge of particular facts sufficient to reasonably suspect Mr.

Torres was not a United States citizen.

                                                57.

       Based on the foregoing, the Defendants are liable unto Mr. Torres for his false

imprisonment.

                                    PRAYER FOR RELIEF

       WHEREFORE, Mr. Torres respectfully requests the following:

1. A declaration that Defendants' actions are unconstitutional;

2. Nominal, compensatory and punitive damages;

3. Reasonable attorneys’ fees, expenses and costs pursuant to 42 U.S.C. § 1988; and

4. Any equitable and additional relief this Court deems appropriate.

                                      Respectfully Submitted:
                                      /s/James R. Bullman
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